        Case 2:15-cv-00128-KG-GBW Document 4 Filed 03/06/15 Page 1 of 6




                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


THOMAS GERALD COLLINS JR.,

       Plaintiff,

vs.                                                    No. 15-CV-00128 SMV/GBW
                                                           Removed from Third Judicial District
CITY OF LAS CRUCES POLICE                                  No. D-307-CV-2015-00071
DEPARTMENT, FRANK GOMEZ,                                   Judge Mary Rosner
OFFICER MR. GUERRA,

       Defendants.


        MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM OR IN THE
         ALTERNATIVE MOTION FOR A MORE DEFINEITE STATEMENT

       COMES NOW City of Las Cruces Police Department, Frank Gomez, and Officer

Mr. Guerra, (“City Defendants”), by and through their counsel of record, the City Attorney’s

Office (William R. Babington Jr., City Attorney, and Robert A. Cabello, Assistant City

Attorney), pursuant to FED. R. CIV. P. 12(b)6 and respectfully asks the Court to dismiss without

prejudice Plaintiff’s Complaint for failure to state a claim, or in the alternative, order Plaintiff to

amend his Complaint to make a more definite statement pursuant to FED. R. CIV. P. 12(e). In

support of their Motion to Dismiss for Failure to State a Claim or in The Alternative Motion For

a More Definite Statement, Defendants state as follows:



                           Plaintiff’s Complaint Fails to State a Claim

       This Court should dismiss Plaintiff’s Complaint for “failure to state a claim upon which

relief can be granted.” FED. R. CIV. P. 12(b)(6). Furthermore, the Complaint violates the general
         Case 2:15-cv-00128-KG-GBW Document 4 Filed 03/06/15 Page 2 of 6




pleadings requirements of the Federal Rules of Civil Procedure, making it impossible to

determine whether Plaintiff has alleged any meritorious claims against Defendant. Plaintiff’s

Complaint fails to meet the standard pleading requirements of FED R. CIV. P. 8(a), and should,

therefore, be dismissed pursuant to FED R. CIV. P. 12(b)6. “[A] pleading that states a claim for

relief must contain . . . short and plain statement of the claim showing that the pleader is entitled

to relief[.]” FED. R. CIV. P. 8(a). The Complaint does not allege the rights violated nor does it

enumerate how the rights were violated.

         Plaintiff’s Complaint is not cured by the broad standards and latitude used to construe a

pro se party’s complaint. A pro se litigant's pleadings are to be construed liberally and held to a

less stringent standard than formal pleadings drafted by lawyers. See Haines v. Kerner, 404 U.S.

519, 520–21, 92 S. Ct. 594, 30 L. Ed. 2d 652 (1972); see also Gillihan v. Shillinger, 872 F.2d

935, 938 (10th Cir. 1989). A court reviewing the sufficiency of a complaint presumes all of

plaintiff's well pled factual allegations are true and construes them in the light most favorable to

the plaintiff. See Scheuer v. Rhodes, 416 U.S. 232, 236, 94 S. Ct. 1683, 1686, 40 L. Ed. 2d 90

(1974); Meade, 841 F.2d at 1526; Morgan v. City of Rawlins, 792 F.2d 975, 978 (10th Cir.

1986).

         The Complaint should be dismissed if “it appears beyond doubt that the [P]laintiff can

prove no set of facts in support of his claim which would entitle him to relief.” Conley v.

Gibson, 355 U.S. 41, 45–46, 78 S. Ct. 99, 2 L. Ed. 2d 80 (1957) (footnote omitted); Meade v.

Grubbs, 841 F.2d 1512, 1526 (10th Cir. 1988). In this instance, the Plaintiff’s factual allegations

in their entirety are:




                                                 2
          Case 2:15-cv-00128-KG-GBW Document 4 Filed 03/06/15 Page 3 of 6




          “[I] called P.D. on burglary; cops came. Arrest was made 11/12/14=8:30am.
          E[xcept] burglar returned. Called P.D. again. Altercation happened. The police
          [at] the scene handled the situation wrongfully and unlawfully. Civil Rights and
          human rights have been violated, under God.” Plaintiff’s Complaint (Exhibit A).

There is no indication of what specific constitutional civil right of Plaintiff is involved, and what

human rights . . . under God that are constitutional rights that may be involved.

          The statements that the police “wrongfully and unlawfully” handled the situation are

simply conclusory statements. Exhibit A. Conclusory allegations without supporting factual

averments are at best construed as insufficient to state a claim on which relief can be based. See

Dunn v. White, 880 F.2d 1188, 1197 (10th Cir. 1989). There is no indication as to how the

police handled the situation let alone the manner, which made it wrongful or unlawful.

          As a whole, the allegations do not state a claim which would entitle him to relief as a

specific right is not invoked nor an allegation as to how his civil rights were violated. “[T]he

complaint must say enough to give the defendant ‘fair notice of what the plaintiff’s claim is the

grounds upon which it rests’” Dura Pharmaceuticals, Inc. v. Broudo, 544 U.S 336, 346-47, 125

S. Ct. 1627, 161 L. Ed. 2d 577 (2005). Without the specific rights enumerated or even an

allegation of how the rights were violated, Defendants do not have fair notice as to Plaintiff’s

claims.

          The Complaint should be dismissed without prejudice; however; if the Court determines

that dismissal is not appropriate at this time, Defendants request the following relief in the

alternative.




                                                 3
          Case 2:15-cv-00128-KG-GBW Document 4 Filed 03/06/15 Page 4 of 6




                      In the Alterative Motion for a More Definite Statement

          Plaintiff’s Complaint fails to provide Defendants with sufficient notice of the claims

asserted against them; therefore, this Court should order Plaintiff to serve a more definite

statement on Defendants. “A party may move for a more definite statement of a pleading to

which a responsive pleading is allowed but which is so vague or ambiguous that the party cannot

reasonably prepare a response.” FED. R. CIV. P. 12(c). An order requiring a more definitive

statement is also appropriate where the complaint fails to set forth the allegations in a manner

that provides the defendants with sufficient notice. See Moya v. Schollenbarger, 465 F.3d 444,

446 (10th Cir. 2006).

          As asserted above, Plaintiff’s Complaint fails to provide Defendants notice of his asserted

claims by omitting the particular rights violated and how they were violated. Accordingly,

Defendants respectfully move the Court for an Order directing Plaintiff to serve a more definite

statement.



                                              Citations

          Pursuant to FED. R. CIV. P. 7, the City’s supporting points with citations are contained

herein.



                                         Plaintiff’s Position

          Defendants attempted via telephone to ascertain Plaintiff’s position regarding this motion

was not obtained; however, he did not provide his position by the time of filing this motion.




                                                   4
       Case 2:15-cv-00128-KG-GBW Document 4 Filed 03/06/15 Page 5 of 6




                                         Relief Requested

       WHEREFORE, Defendants respectfully request the Court enter an order dismissing

Plaintiff’s Complaint without prejudice, or in the alternative, an Order directing Plaintiff to serve

a more definite statement of the Complaint on Defendants.

                                              Respectfully submitted,

                                              CITY OF LAS CRUCES


                                              /s/ Robert A. Cabello
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                                                 5
       Case 2:15-cv-00128-KG-GBW Document 4 Filed 03/06/15 Page 6 of 6




                                CERTIFICATE OF SERVICE

        I hereby certify that that on the 6th day of March, 2015, I filed the foregoing
electronically through the CM/ECF system, which caused the following party to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing:

               Thomas Gerald Collins, Jr.
               Unknown email address
               Pro Se Plaintiff

       Additionally, I further certify that on the same date I served a true and correct copy of the
foregoing via U.S. Mail in a properly addressed and stamped envelope to:

                Thomas Gerald Collins Jr.
                P.O. Box 693
                Las Cruces, NM 88007
                Pro Se Plaintiff


                                                     /s/ Robert A. Cabello
                                                     Robert A. Cabello




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